Case 1:18-cv-00195-DLH-CRH Document 107-24 Filed 04/23/20 Page 1 of 3




           EXHIBIT 3-A




                                                                App. 755
                                                                     756
    Case 1:18-cv-00195-DLH-CRH Document 107-24 Filed 04/23/20 Page 2 of 3




                                                                   ENSTAR (US) Inc.
                                                                                      Harborside 5,
                                                                       185 Hudson Street, Suite 2600,
                                                                               Jersey City, NJ 07311
                                                                                 t +1 (201)743-7700
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                                                                                www.starstone.com

                                         January 9, 2020

VIA EMAIL

 Leslie Thorne
 HAYNES BOONE LLP
 600 Congress Avenue
 Suite 1300
 Austin, TX 78701-3285
 leslie.thorne@haynesboone.com

       Re:    Stassinos, et al. v. XTO, et al., Case No. 1:17-cv-00138
              U.S. District Court, District of North Dakota, Western Division
              (“Stassinos Lawsuit”)

              Maheu, et al., v. XTO, et al., Case No. 1:17-cv-00102
              U.S. District Court, District of North Dakota, Western Division
              (“Maheu Lawsuit”)

              Claim No.: 100-60-645
              Insured: Badlands Consulting, LLC
              Insurer: StarStone National Insurance Company formally known as Torus
              National Insurance Company
              Policy No.: 82068H152AL1
              Policy Term: October 14, 2015 to October 14, 2016

Dear Ms. Thorne:

      I am writing to you in connection with XTO’s claim for coverage under the StarStone
Umbrella Policy arising out of the above-referenced lawsuits.

        As you know, XTO and StarStone have made various disclosures to each other concerning
their respective positions concerning XTO’s claim for coverage under the StarStone Umbrella
Policy through the pleadings and written discovery in the Berkely v XTO litigation. Nevertheless,




                                                                                         App. 755
                                                                                              757
    Case 1:18-cv-00195-DLH-CRH Document 107-24 Filed 04/23/20 Page 3 of 3


Page 2

I wanted to send you this supplemental reservation of rights letter to provide you with additional
information concerning our assessment of XTO’s claim.

        Our review of the Master Services Agreement (“MSA”) between XTO and Badlands
indicates that XTO may not have coverage under the StarStone Umbrella Policy because Badlands
has no indemnity obligations to the XTO Group, and XTO agreed to obtain $1 million of
commercial general liability coverage to support its own indemnity obligations. The Texas
Oilfield Anti–Indemnity Act limits the parties’ recovery rights to the lowest amounts of coverage
that either party agreed to obtain in support of their mutual indemnity obligations. Under these
circumstances, XTO’s claim for coverage under the policies issued to Badlands would not
implicate the StarStone Umbrella Policy.

        By advising XTO of the coverage issues discussed in this letter, StarStone is not waiving,
and is explicitly preserving, its right to reply upon other policy terms, conditions, exclusions and
factual matters not referenced in this letter in connection with determining its obligations to XTO
and XTO’s contractors.

        Should you have any additional information you would like us to consider at this time,
please forward the same to my attention.

                                              Very truly yours,




                                              Christine Boberek
                                              Senior Claims Examiner




                                                                                          App. 755
                                                                                               758
